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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF GEORGIA
                            WAYCROSS DIVISION

 EDWARD SCOTT,                              )
 and DEBBIE RICHARDS,                       )
 et al., on behalf of themselves and all    )
 others similarly situated,                 )
                                            )
    Plaintiffs,                             )
                                            )    CIVIL ACTION NO.
 v.                                         )    5:19-CV-00022-LGW-BWC
 NORTH AMERICAN INNS, LLC,                  )
 SHARMA HOSPITALITY, LLC                    )
 PAUL D. SHARMA, AND SHAUN                  )
 B. SHARMA,                                 )
                                            )
    Defendants.




                    SUGGESTION AND NOTICE OF BANKRUPTCY



      COMES NOW North American Inns, LLC, (“NAI”), Sharma Hospitality,

LLC (“SH”), and Shaun B. Sharma (herein referred as “Defendants”) and inform

this Court and all parties that Paul Sharma has filed a Chapter 7 Bankruptcy Petition

in the Southern District of Georgia, which has been assigned Case No. 18-50834-

mjk. The automatic stay pursuant to 11 USC § 362 is in effect on this and all other

pending actions, and all timeframes and deadlines are tolled unless ruled otherwise
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by a court of competent jurisdiction, or until the stay is lifted. This Suggestion and

Notice is filed for informational purposes only and does not constitute a Notice of

Appearance in this action.

             Respectfully submitted this 23rd day of May 2019.



                                              By: /s/ Howard P. Slomka, Esquire
                                              Georgia Bar #652875
                                              2859 Paces Ferry Rd. SE. Suite 1700
                                              Atlanta, Georgia 30339
                                              Attorney for Defendants
                                              (404) 800-4017
                                              HS@Atl.law




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 PAUL D. SHARMA, AND SHAUN                     )
 B. SHARMA,                                    )
                                               )
    Defendants.

                             CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on May 23, 2019, I filed the foregoing using the

CM/ECF system, which will send a notice of electronic filing to:

Tyler B. Kaspers, Esq.
The Kaspers Firm, LLC
152 New Street, Suite 109B
Macon, Georgia 31201
Tel. 404-944-3128
tyler@kaspersfirm.com

                                                   /s/ Howard P. Slomka, Esquire
                                                   Georgia Bar #652875
                                                   2859 Paces Ferry Rd. SE. Suite 1700
                                                   Atlanta, Georgia 30339
                                                   Attorney for Defendants

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